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 4   ATTORNEY FOR DEFENDANT
     Hamira Chechi
 5

 6               IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                        EASTERN DISTRICT OF CALIFORNIA
 8

 9

10   UNITED STATES OF AMERICA,     )              2:14-cr-00169-GEB-4
                                   )
11        PLAINTIFF,               )
                                   )              UNOPPOSED MOTION FOR RETURN
12
          v.                       )              OF DEFENDANT’S PASSPORT IN
13                                 )              THE CUSTODY OF THE CLERK THE
      HAMIRA CHECHI,               )              OF COURT AND FOR THE RETURN
14                                 )              OF THE $20,000.00 CASH BOND
                                   )              POSTED BY TARIQ M. CHECHI
15
          DEFENDANT.               )
16   ______________________________)

17       IT IS UNOPPOSED by the Plaintiff, UNITED STATES OF AMERICA,
18
     through    its    counsel,    Jared     Dolan,   Assistant    United   States
19
     Attorney, that the Court issue an order for the return of the
20
     defendant HAMIRA CHECHI’s passport to defense counsel Michael J.
21

22   Aye. Defendant’s passport is in the custody of the Clerk of the

23   Court for the Eastern District of California.
24
         IT     IS    FURTHER   UNOPPOSED    by   Plaintiff,    UNITED   STATES   OF
25
     AMERICA,    through    its   counsel,    Jared    Dolan,   Assistant   United
26
     States Attorney, that the court issue an order for the return of
27

28   the $20,000.00 cash bond, posted by Tariq M. Chechi, to secure

     the appearance of Defendant Hamira Chechi, to defense counsel

                                              - 1 -
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 1   Michael    J.      Aye   for     him   to    make   arrangements    for    the   moneys
 2
     return to Tariq M. Chechi.
 3
                                            FACTUAL BASIS
 4
                   On    June       20,   2014    defendant    Hamira   Chechi    made   her
 5

 6   initial appearance before Magistrate Judge Kendall J. Newman.

 7   The matter was then put over to June 24, 2014 for detention
 8
     hearing. At the detention hearing on June 24, 2014 defendant
 9
     Hamira Chechi ordered released on a $20,000.00 cash bond. On
10
     June 24, 2014 the $20,000.00 for said Appearance Bond as to
11

12   defendant Hamira Chechi was deposited with the clerk by funds

13   provided by Tariq M. Chechi with Receipt No. CAE2000060725 being
14
     issued by of Clerk of the Court of the Eastern District.
15
           On   June       23,      2014    the    court     received   passport      number
16
     AG4162181 for defendant Hamira Chechi from attorney Michael J.
17

18   Aye. (Docket No. 26.)

19         On September 29, 2017 defendant Hamira Chechi was sentenced
20
     to 36 months of probation.
21
           Due to defendant making all appearances and now have been
22
     sentenced, defendant requests that the Court order the Clerk of
23

24   the   Court     for      the    Eastern      District    of   California    to   return

25   defense counsel, so counsel can arrange to return the passport
26
     to his client
27

28



                                                     - 2 -
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       1           It is further requested that the court make an order for
       2
           the release of the $20,000.00 paid by Tariq M. Chechi, Receipt
       3
           No. CAE2000060725, to defense counsel Michael J. Aye, for its
       4
           return to Tariq M. Chechi.
       5

       6           Respectfully submitted,

       7                                             /s/ Michael Aye_______
                                                     MICHAEL AYE, Counsel For
       8
                                                     Defendant, HAMIRA CHECHI
       9

      10                                        ORDER
      11
                   The   Court,   having   received,       read,   and   considered   the
      12
           stipulation of the parties, and good cause appearing therefrom,
      13
           adopts the stipulation of the parties in its entirety and it is
      14

      15   so order.

October163, 2017
      17

      18

      19

      20

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      25

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